Case 2:04-cr-20450-.]DB Document 38 Filed 08/01/05 Page 1 of 2 Page|D 56

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UN|TED STATES OF A|V|ERICA

 

P|aintiff

VS.
CR. NO. 04-20450-B

ROSETTA PEF{K|NS,
LAFlFtY VEFtNELL BULLOCK,

Detendants.

 

OFtDEF{ ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the oase.

The Court granted the request and reset the trial date to October 3, 2005 with a
report date of Mondav. September 26, 2005. at 9:30 a.m., in Courtroom 1. ttth Fioor
of the Federa| Bui|ding, |V|emphis, TN. Detendants’ personal appearances are waived for
September 26, 2005 report date.

The period from August 12, 2005 through Octo|:)er 14, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustioe served in allowing for additional

time to prepare outweigh the need for a spe dy tria|.
8‘4~
iT |S SO ORDERED this / day §I:EOOS.

 

J. DA lEL BREEN \
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Honorable J. Breen
US DISTRICT COURT

